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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,
                                          Criminal No. 93-536-01 (JBS)
                  Plaintiff,                            &
                                             Civil No. 08-1475 (JBS)
      v.

RICHARD BALTER, et al.,                                 OPINION

                  Defendants.

______________________________

RICHARD BALTER,

            Petitioner,

      v.

UNITED STATES OF AMERICA,

            Respondent.



SIMANDLE, District Judge:

     This matter is before the Court on Petitioner Richard

Balter’s motion for reconsideration of the Court’s March 29, 2010

Opinion and Order denying his petition for writ of mandamus to

enforce an order the Court entered upon the criminal docket

[Criminal Docket No. 93-00536] in which he is a defendant [Civil

Docket No. 08-1475, Docket Item 17].        THE COURT FINDS AS FOLLOWS:

     1.    At issue is Petitioner’s attempt to obtain the return of

personal and business records seized prior to his criminal trial

from his business, Northeastern Poly Product, Inc. (“NPP”),
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pursuant to Rule 41(g), Fed. R. Crim. P.              On March 24, 2008,

Petitioner filed a motion for writ of mandamus, asking the Court

to enforce it orders, entered on his criminal docket [Criminal

Docket No. 93-00536, Docket Items 8 & 16], requiring the return

of seized property under Rule 41(g) [Civil Docket No. 08-1475,

Docket Item 1].

     2.   On March 29, 2010, the Court filed an Opinion and Order

denying Petitioner’s request for a writ of mandamus, concluding

that Respondent had complied with the Court’s order under Rule

41(g) and returned to Petitioner all seized property currently in

Respondent’s possession.      The Court found that Respondent

retained only twenty-one boxes of material related to

Petitioner’s conviction and sentencing and destroyed any

remaining property, including some of the seized personal

property Petitioner seeks.      (March 29, 2010 Opinion at 7-12.)

The Court further found that Respondent “appropriately sorted out

those documents constituting Mr. Balter’s personal and business

records” from the other material contained in the twenty-one

boxes (which included attorney work product and grand jury

transcripts) to produce two boxes, which were delivered to

Petitioner.   (Id. at 8.)     Finally, the Court observed that while

Petitioner might be entitled to some other relief as a result of

the destruction of his property, Rule 41(g) is not the

appropriate mechanism.     (Id. at 12.)


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     3.   On May 4, 2010, Petitioner mailed his motion for

reconsideration of that Opinion and Order.              In his various

submissions, dated April 23, 2010 (and mailed on May 4, 2010),

May 19, 2010, and July 17, 2010 [Civil Docket No. 08-1475, Docket

Items 17, 18 & 23], Petitioner argues that the government

illegally seized his property from NPP, that those records are

exculpatory, that he began requesting those documents from

Respondent via letters in 1995, and that he is entitled to the

contents of all twenty-one boxes that Respondent retains.

     4. Local Civil Rule 7.1(i) governs the Court’s review of

Petitioner’s motion for reconsideration.              Rule 7.1(i) requires

the moving party to file a reconsideration motion within ten

business days of entry of the order and to set forth the factual

matters or controlling legal authorities it believes the Court

overlooked when rendering its initial decision.                L. Civ. R.

7.1(i).   To succeed on a motion for reconsideration, the movant

must show:

     (1) an intervening change in the controlling law; (2) the
     availability of new evidence that was not available when
     the court . . . [rendered the judgment in question]; or
     (3) the need to correct a clear error of law or fact or
     to prevent manifest injustice.


Max’s Seafood Café ex rel. Lou-Ann, Inc., v. Quinteros, 176 F.3d

669, 677 (3d Cir. 1999).      To prevail under the third prong, the

movant must show that “dispositive factual matters or controlling

decisions of law were brought to the court’s attention but not

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considered.”    P. Schoenfeld Asset Management LLC v. Cendant

Corp., 161 F. Supp. 2d 349, 353 (D.N.J. 2001) (internal

quotations and citations omitted).            The standard of review

involved in a motion for reconsideration is high and relief is to

be granted sparingly.     United States v. Jones, 158 F.R.D. 309,

314 (D.N.J. 1994); Maldonado v. Lucca, 636 F. Supp. 621, 629

(D.N.J. 1986).

     5.   As an initial matter, Petitioner’s motion for

reconsideration is untimely.      While court records reflect that

there was some delay in service of the May 29, 2010 Opinion and

Order (Petitioner had not informed the Court of his new location

at USP Coleman as required by Local Civil Rule 10.1(a), and so

the Clerk of Court was required to re-mail the Opinion and Order

after discovering Petitioner’s new location from the Bureau of

Prisons website [Civil Docket No. 08-1475, Docket Item 16]),

Petitioner admits that he received these documents on April 11,

2010 [Civil Docket No. 08-1475, Docket Item 17 at 2].                 He did not

mail his motion until May 4, 2010 [Id. at 6].               As a consequence,

even taking into account Petitioner’s present incarceration, see

Houston v. Lack, 487 U.S. 266, 276 (1988) (prisoner’s filings are

deemed filed upon mailing), Petitioner’s motion was not filed

until seventeen business days after he received the Order and

Opinion (and thirty business days from entry of the Order and

Opinion).   The Court will therefore deny Petitioner motion as


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untimely.   See Adams USA, Inc. v. Reda Sports, Inc., 220 F. App’x

139, 141 (3d Cir. 2007) (“An untimely motion for reconsideration

is ‘void and of no effect.’”) (quoting Amatangelo v. Borough of

Donora, 212 F.3d 776, 780 (3d Cir. 2000)).

     6.   Moreover, even if Petitioner’s motion were timely, it

fails on the merits.     Petitioner does not point to any

intervening change of law nor does he offer any evidence that was

previously unavailable (all the evidence submitted with his

motion to reconsider are documents that existed well before the

Court entered its opinion in this case).              Petitioner similarly

does not offer any dispositive factual matters or controlling law

that the Court overlooked.      Instead, he reiterates arguments

already considered and addressed by the Court in its March 29,

2010 Opinion and Order.     Petitioner’s unsubstantiated accusations

regarding the illegality of the seizure of NPP property and the

exculpatory nature of that property and his mere assertion that

he is entitled to the remaining nineteen boxes of material1

because everything else has been destroyed do not establish a

clear error of law or fact in the Court’s original opinion.                   Nor



     1
       The Court will reiterate, because Petitioner’s arguments
reveal some confusion, that the remaining nineteen boxes do not
contain material covered by the Court’s orders under Rule 41(g).
Instead, the Court has found that the remaining boxes contain
documents related to Petitioner’s criminal trial but not
Petitioner’s personal property (the only documents subject to the
Court’s orders under Rule 41(g)). (March 29, 2010 Opinion at 7-
8.)

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do the letters requesting these documents prior to moving under

Rule 41(g) show that the Court’s decision was incorrect, let

alone that it has led to manifest injustice.                In short,

Petitioner’s motion to reconsider does not establish that there

is a genuine dispute regarding either the nature of the documents

in the twenty-one boxes retained by Respondent nor the

destruction of all other property.            Petitioner has failed to

offer valid grounds for reconsideration.

     7.   For the foregoing reasons, the Court will deny

Petitioner’s motion for reconsideration.              The accompanying Order

shall be entered.




July 26, 2010                                s/ Jerome B. Simandle
Date                                        JEROME B. SIMANDLE
                                            United States District Judge




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